                               Case: 1:23-cv-00384-TSB Doc #: 1-1 Filed: 06/22/23 Page: 1 of 3 PAGEID #: 10
                                                          Exhibit A to the Complaint
Location: Cincinnati, OH                                                                                  IP Address: 184.54.66.66
Total Works Infringed: 32                                                                                 ISP: Spectrum
 Work      Hashes                                                                 UTC             Site           Published     Registered   Registration
 1         Info Hash: 6349F5E18CB10729D3E4A2B027C2ECD45BFD9068                           05-28-   Slayed         11-29-2022    01-05-2023   PA0002394013
           File Hash:                                                                      2023
           6DAEB3C4C97B7103529BF4710B97598DB6D3D92A3FF5E91CCFB735DB3498615E            18:13:05
 2         Info Hash: A6EA7322227167BB958372EA0FF00D8E41D18E19                           05-26-   Blacked        05-24-2023    06-09-2023   PA0002415389
           File Hash:                                                                      2023   Raw
           AA26482D229D74AD1E385E34673390A2FEC721A9EF9F38C2EA74C0156CE5BDF1            12:53:54
 3         Info Hash: C5DB7207F7487D7B1235962DC9DAD5B576D7B0DB                           05-22-   Blacked        11-22-2021    12-09-2021   PA0002325831
           File Hash:                                                                      2023   Raw
           0DC99F3D82B6E44E901F3257B30E0F96E1BA5E043E055A534A5147DCD4C5C6C5            17:13:52
 4         Info Hash: 644942E65DA50895329ED620E91630FDD0652CDE                           05-15-   Slayed         11-15-2022    01-06-2023   PA0002393655
           File Hash:                                                                      2023
           58D827A5186403BA0416915F6DBF0D5C7AC8AF4B92747D101EF18212A388F5DB            02:56:18
 5         Info Hash: 8E81D7506E82523E99FC74A4714A1C7092B9EECD                           04-02-   Vixen          03-31-2023    04-09-2023   PA0002405749
           File Hash:                                                                      2023
           87A3560EDE4DAED401179D0B2BC5EF23E741AE1C4B05EECBEFE1B05789D66D14            15:06:18
 6         Info Hash: 7AE8134085E50AC4D2F877ADF5004A44CE65BCFE                           03-28-   Blacked        03-25-2023    04-07-2023   PA0002405729
           File Hash:                                                                      2023   Raw
           14CE4C502F90353FF781403F7F69DB6D7B242C69A1206B88946A13BEFDB86C61            21:57:53
 7         Info Hash: EB4A9DF936FDE36CD9D8E2947C44B32F735F7A76                           03-27-   Vixen          03-24-2023    04-10-2023   PA0002405937
           File Hash:                                                                      2023
           F251819BD9ED6875E59A282628E5585C935471AF568355DE9EEC390A3A8889AF            03:51:17
 8         Info Hash: B1D2CE1C12DD299D4C4746CA986BB4AB65FFD52D                           03-05-   Vixen          03-03-2023    04-10-2023   PA0002405936
           File Hash:                                                                      2023
           08D68414DB8CE56E0E2B9DD81A16A3F1C07FCD452EE42EADAB5229E0F0D4391C            15:42:41
 9         Info Hash: 5B3EEF56046E68152C027B3D595FC6C98889C0DD                           02-27-   Blacked        02-23-2023    03-06-2023   PA0002399998
           File Hash:                                                                      2023   Raw
           343D1528287A7B1878532AD9ED95033CECF8265C8BC11C016CC55FD6CD52A67A            16:04:50
 10        Info Hash: 7A9A2E1E2DCBB3A64583B95F042C029A715D4743                           02-27-   Vixen          02-24-2023    03-07-2023   PA0002400307
           File Hash:                                                                      2023
           FA1CA01F93BBC637BFED6161ED631234D467FDB502BF67C0BE5F618E1FCE3818            15:00:26
 11        Info Hash: F399FA3E54D67D6328C274E602EBA168782B10F8                           02-24-   Tushy          02-19-2023    03-06-2023   PA0002399999
           File Hash:                                                                      2023
           CF1A612D60A58BB7B5D90F4CF13093F924F7C91914721FF5F24345C6F6829A52            14:33:00
                           Case: 1:23-cv-00384-TSB Doc #: 1-1 Filed: 06/22/23 Page: 2 of 3 PAGEID #: 11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 4E8A6F53301141CCD9FF05FDB3BDE1B81B343863                   02-20-   Blacked   02-18-2023   04-13-2023   PA0002407766
       File Hash:                                                              2023
       C2F9924C4E647C4D97CEE555ADD3EB04C8B60C657E747D4E7E332AE832EF06CA    23:30:08
13     Info Hash: BA96E0B5B972B5E2BF1B8CA350B5E650FE4A28ED                   02-19-   Vixen     02-17-2023   03-08-2023   PA0002400563
       File Hash:                                                              2023
       5C3E98369E4A663C67579CEE0B6618B6539F9F38CA8B717196FD2AFA56F731C2    15:10:22
14     Info Hash: 73842FA95F10B6EFAD61DB107A731D1E9EF38A13                   02-13-   Vixen     02-10-2023   03-08-2023   PA0002400313
       File Hash:                                                              2023
       E7284236B734287E464C7A267A0071B39B2D1C6ABC30DFE10F67E126B75CB849    04:32:47
15     Info Hash: 90E58A7E8843333A2806ECE4B18498C2FA66A2CB                   02-08-   Blacked   02-03-2023   03-08-2023   PA0002400564
       File Hash:                                                              2023   Raw
       976279C08F9B1ADA3BB1DF2FECA207FBBDC486F48C2A82C21B938B654CBA6803    14:23:55
16     Info Hash: 743B436198D58868EE90DB21DD73E45156E91E69                   02-06-   Vixen     02-03-2023   03-07-2023   PA0002400312
       File Hash:                                                              2023
       68CAF48F7FAE60974122CFFA222A37ABFC4F3254649FB4BEB1FB67B8C19A452F    03:48:35
17     Info Hash: 4197846EE65A17BF75633B3B07DB631C578DC87D                   02-03-   Slayed    08-23-2022   09-22-2022   PA0002378513
       File Hash:                                                              2023
       C3399894A15A3E66141A950F8B3440534742C93C37640A7941FD7ACA0B5D4C5D    00:43:18
18     Info Hash: BABEA42AB263D45CAC6CDE28D9FEECEF129EE410                   01-29-   Vixen     01-27-2023   04-13-2023   PA0002406898
       File Hash:                                                              2023
       349658B254B9C0F9BDF2486AD50DA8A7D3C40463A9959E5D25F0E0B02A6E22CE    15:31:39
19     Info Hash: 1E098BFD1E70D59242134EEA731CD2397EEA2DBE                   01-27-   Slayed    08-16-2022   09-22-2022   PA0002378429
       File Hash:                                                              2023
       EF30700ECCCB3617D9A68E2948B72012052401663B228B25829C63CA2EF1E2CA    14:18:28
20     Info Hash: DAF08946CC8E9C0865B015FC90652B7FB5E54189                   01-17-   Tushy     01-15-2023   01-27-2023   PA0002393083
       File Hash:                                                              2023
       4845409CF80BA7F69D2F0973B489CDB7816262721BBADCAAA2723A577F4EEAA3    14:51:55
21     Info Hash: E7DBE00AFA2AA0D254190ED2E7A5376B9042DF00                   01-15-   Vixen     01-13-2023   01-27-2023   PA0002393077
       File Hash:                                                              2023
       BA71272B07322BA290782D8D775FCDAE9031C23990C8EC9AC09EF0F3B9D3B071    15:46:59
22     Info Hash: 00C56C20D92364F6582DFFD455CBECFB42580CEB                   01-06-   Blacked   12-31-2022   01-10-2023   PA0002389580
       File Hash:                                                              2023
       98FCFFFAD004377A839F752D05E1B458CD0CE36DB3BD98D65545D27F32C477EE    16:19:46
23     Info Hash: D4F648C5DBDF8425ED4D5D9E4A19C0928FC7D808                   01-05-   Vixen     03-25-2022   04-23-2022   PA0002346420
       File Hash:                                                              2023
       4F66A457FCD27460FCA664F79176D57E1DCA734D7CBBC94B9503A1F533D6AE97    22:54:14
                           Case: 1:23-cv-00384-TSB Doc #: 1-1 Filed: 06/22/23 Page: 3 of 3 PAGEID #: 12

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: E480F6FC4F93982D07B305510EB73A2867B3ACD5                   01-05-   Vixen     05-20-2022   06-27-2022   PA0002354985
       File Hash:                                                              2023
       548A8289F6B4B23B023A85080F425EFCCCF0F0BC211DC7E8877665DC685B1787    22:52:19
25     Info Hash: 73FF56417B80001A7B359B7AD950366EA706DF13                   01-05-   Blacked   04-19-2021   04-27-2021   PA0002288984
       File Hash:                                                              2023   Raw
       EDBBA2130B528B643297E287CBD82189A1FFD31C0F9FA6A943D45F021911BA7A    22:52:19
26     Info Hash: 57D38984B201F44F8712EBFB996E659BB0298148                   01-05-   Vixen     08-19-2022   08-30-2022   PA0002367752
       File Hash:                                                              2023
       D83539C6D18437AECC449DBF1FBC2782151D08C938DB1169AEB616391BD7EA15    22:52:19
27     Info Hash: 6A328AABCF7CDD40C99581F826A9C9C318749BCE                   01-05-   Vixen     08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2023
       7BE314A684BD8C045D306FAF9F04E860583C69C2C94FF76D41BF3B9F0810BE1C    22:52:18
28     Info Hash: E0CDE42BEB15AD73597EAB8097EE4A7E0010F954                   12-26-   Blacked   12-24-2022   01-10-2023   PA0002389603
       File Hash:                                                              2022
       A0F2DF5B142210568CAEABDD39207E691EF85D9B250DD39B9C7D3A7DBADCC5EE    23:03:34
29     Info Hash: 68B66FB1A2A60C7E782CE630CE9D808491A241B3                   12-22-   Vixen     12-16-2022   01-10-2023   PA0002389621
       File Hash:                                                              2022
       39B26D15C1A56FDE091BB074D62C2AD36DAC8DAC23A42B0B4E597C4284FA1303    17:07:11
30     Info Hash: 8F9D3A596AF1C39AAA440D4F826E74D61884670F                   12-11-   Vixen     12-09-2022   02-21-2023   PA0002401000
       File Hash:                                                              2022
       1588347C9067E39D797E9ADF63148F8F32E8F6CA87F28F22301A08A0324A1612    14:53:08
31     Info Hash: 35F44879228811CF9C2110079EA8CD9171E7A611                   11-29-   Blacked   11-26-2022   12-11-2022   PA0002384739
       File Hash:                                                              2022
       55276562F44CADDD8899A9228D58BC97315ED70D649C5210B42D57DB4C43EB68    15:18:08
32     Info Hash: 72AB5D111570FE8ACF0B01B57B6113F14C350BE1                   11-29-   Tushy     10-24-2021   11-11-2021   PA0002321315
       File Hash:                                                              2022
       7AA6FFE1965EFE96A343FB510C87FFC969DCA38EB59776332BFA1BB9674B4D82    14:33:27
